                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

IN RE:                                       §
                                             §
WALTER GEORGE BUSBY                          §           CASE NO. 19-50725-cag
DEANN LOUISE BUSBY                           §           CHAPTER 7
         Debtor(s)                           §
                                             §
                                             §
WILMINGTON TRUST COMPANY,                    §
AS SUCCESSOR TRUSTEE TO                      §
CITIBANK, NA AS TRUSTEE TO                   §
STRUCTURED ASSET SECURITIES                  §
CORPORATION, SERIES 2005-1                   §
           Movant,                           §
v.                                           §
                                             §
WALTER GEORGE BUSBY, Debtor                  §
DEANN LOUISE BUSBY, Debtor                   §
JOSE C RODRIGUEZ, Trustee                    §
          Respondents                        §

      DEBTOR’S RESPONSE TO WILMINGTON TRUST COMPANY’S MOTION
     FOR RELIEF FROM AUTOMATIC STAY OF ACT AGAINST COLLATERAL
         AND WAIVER OF THIRTY-DAY (30) HEARING REQUIREMENT
                         [DOCKET ENTRY #12]

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Walter George Busby and Deann Louise Busby (the “Respondents”), files

this Response to Wilmington Trust Company’s Motion for Relief from Automatic Stay of Act

Against Collateral and Waiver of Thirty-Day (30) Hearing Requirement, and for just cause would

respectfully show the Court the following:

                                        ARGUMENTS

       Walter George Busby and Deann Louise Busby represents the following in relation to ECF

#12, Wilmington Trust Company’s (WILMINGTON) Motion for Relief from the Automatic Stay:
       1.      Paragraph 1 of WILMINGTON’s Motion does not require an admission or denial

because it merely recites statutory predicate.

       2.      Respondents admits all facts stated in paragraph 2 of WILMINGTON’s Motion for

Relief from the Automatic Stay.

       3.      Respondents admits all facts stated in paragraph 3 of WILMINGTON’s Motion for

Relief from the Automatic Stay.

       4.      Respondents admits all assertions stated in paragraph 4 of WILMINGTON’s

Motion for Relief from the Automatic Stay.

       5.      Respondents admits all facts stated in paragraph 5 of WILMINGTON’s Motion for

Relief from the Automatic Stay except Respondent cannot admit or deny the exact number of

missed payments.

       6.      Respondents cannot admit or deny the state of mind of Movant as stated in

Paragraph 6 of WILMINGTON’s Motion for Relief from the Automatic Stay.

       7.      Respondents cannot admit or deny the facts stated in Paragraph 7 of

WILMINGTON’s Motion for Relief from the Automatic Stay.

       8.      Respondents admits all assertions stated in paragraph 8 of WILMINGTON’s

Motion for Relief from the Automatic Stay.

       9.      Respondents admits all assertions stated in paragraph 9 of WILMINGTON’s

Motion for Relief from the Automatic Stay.

       10.     Respondents denies all assertions stated in paragraph 10 of WILMINGTON’s

Motion for Relief from the Automatic Stay.
       11.     In response to paragraph 11 of WILMINGTON’s Motion for Relief from the

Automatic Stay Respondent pleads the Movant is over secured and adequately protected and,

therefore, the motion for relief from the automatic stay should be denied.

       12.     In response to paragraph 12 of WILMINGTON’s Motion for Relief from the

Automatic Stay Respondent pleads the Movant is over secured and adequately protected and,

therefore, the relief requested in paragraph 12 should be denied.

       WHEREFORE, PREMISES CONSIDERED, the Respondents pray the Court DENY

WILMINGTON’s Motion for Relief from the Automatic Stay and grant to Respondents any such

relief as the Debtor may be entitled to.

Dated: May 23, 2019

                               Respectfully Submitted,

                               By: /s/ Ronald J. Smeberg

                                       RONALD J. SMEBERG
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                                       ATTORNEY FOR DEBTOR



                             CERTIFICATE OF SERVICE

        I hereby certify that on May 23, 2019, a copy of the forgoing was served electronically
through the Court's ECF system or by regular United States mail to all interested parties and all
creditors listed below.

                                           /s/ Ronald Smeberg
                                           Ronald J. Smeberg
                                SERVICE LIST

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